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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

PNC Bank, National Association
                                         Plaintiff,
v.                                                        Case No.: 1:20−cv−06099
                                                          Honorable Joan H. Lefkow
Predrag Knezevic, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 3, 2021:


       MINUTE entry before the Honorable Joan H. Lefkow: The status hearing set for
11/9/2021 is stricken and reset to 11/30/2021 at 11:00 a.m. Remote access remains the
same as in entry [19]. Mailed notice (ags)




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